Case 1-19-44368-nhl Doc 33 _ Filed 10/16/19 Entered 10/17/19 11:22:45

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re: ye Pee Ce (aber Chapter /S
Case No. L[E-V9 CE

 

Debtor(s)

 

X
LOSS MITIGATION REQUEST - BY DEBTOR

Iam a Debtor in this case. I hereby request to enter into the Loss Mitigation Program
with respect to [Identify the property, loan and creditor(s) for which you are requesting
loss eo i:

36/ Vane Joenre. Erol’ | Nips Me. Y VELA

[Tdentify the Property]
2
VY A.

f.

Loan Number]

    
 

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[Creditor’s Name and Address]

SIGNATURE

I understand that if the Court orders loss mitigation in this case, I will be expected to
comply with the Loss Mitigation Procedures. I agree to comply with the Loss Mitigation
Procedures, and I will participate in the Loss Mitigation Program in good faith. I
understand that loss mitigation is voluntary for all parties, and that I am not required to
enter into any agreement or settlement with any other party as part of entry into the Loss
Mitigation Program. I also understand that no other party is required to enter into any
agreement or settlement with me. I understand that Iam not required to request dismissal
of this case as part of any resolution or settlement that is offered or agreed to during the
Loss Mitigation Period.

Sign: Viele Leiter Date: al lé 200 LY
print Mame Ve C Leper

[First and Last Name]

Telephone Number: GL7) gfe LES

999-999-9999]

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